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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION
    UNITED STATES OF AMERICA

    -vs-                                                            Case No. 6:05-cr-154-Orl-31JGG

    PHILIP ROBERT CRIMI
    _____________________________________


                                                  ORDER

           Defendant has filed a Motion for Judgment of Acquittal or for New Trial (Doc. 583) and the

    government responded (Doc. 602). A judgment of acquittal is inappropriate because a reasonable fact

    finder, viewing the evidence in a light most favorable to the government, could conclude that the

    evidence establishes Defendant’s guilt beyond a reasonable doubt. United States v. Hernandez, 433

    F.3d 1328 (11th Cir. 2005). The Motion for New Trial is without merit because the evidence does

    not preponderate heavily against the verdict, such that it would be a miscarriage of justice to let the

    verdict stand. Id. Accordingly, it is

           ORDERED that Defendant’s Motion is DENIED.

           DONE and ORDERED in Chambers in Orlando, Florida on April 17, 2006.


    Copies furnished to:

    United States Marshal
    United States Attorney
    United States Probation Office
    United States Pretrial Services Office
    Counsel for Defendant
    Philip Robert Crimi
